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                      Melville, NY 11747

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                      Irving, Texas 75063

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                      PO Box 182564
                      Columbus, Oh 43218

                      Internal Revenue Service
                      ACS Support
                      PO Box 57
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                      Inc. Village of Great Neck Plaza
                      Gussack Plaza
                      PO Box 440
                      Great Neck, NY 11022

                      KeyBank National Association
                      4910 Tiederman Road
                      Brooklyn, Ohio 44144

                      Kohl’s
                      PO Box 2983
                      Milwaukee, WI 53201

                      Lake Success Village Court
                      15 Vanderbilt Drive
                      Lake Success, NY 11020

                      Nassau County Traffic and Parking Violations Agency
                      16 Cooper Street
                      Hempstead, NY 11550

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                      W.A. Harriman Campus
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